        Case 5:25-cr-00351-XR         Document 13        Filed 06/18/25     Page 1 of 2
                                                                                      FILED
                                                                                     June 18, 2025

                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT                           By:        RR
                            WESTERN DISTRICT OF TEXAS                                              Deputy
                                An
                               Sa   Nt
                                 N An ToNiIoO DIVISION
                                       On
                                                                  Case No:       SA:25-CR-00351-XR

 UNITED STATES OF AMERICA
        Plaintiff

                v
                                                     INDICTMENT
 DAMIAN SOTO

        Defendant                                    Attempt to Traffic Firearms




THE GRAND JURY CHARGES:


                                         COUNT ONE
                                  [18 U.S.C. § 933(a)(2) & (3)]

                                                                        defendant,

                                        DAMIAN SOTO

did attempt to receive at least one firearm, to wit: an FN Herstal SCAR-type rifle, from another

person in or otherwise affecting interstate or foreign commerce, knowing or having reasonable

cause to believe that such receipt would constitute a felony, to wit: possession of a machinegun

and straw purchasing of firearms in violation of Title 18, United States Code, Section 933(a)(2) &
        Case 5:25-cr-00351-XR    Document 13   Filed 06/18/25   Page 2 of 2




(3).




       JUSTIN SIMMONS
       UNITED STATES ATTORNEY



BY:
       Zachary W. Parsons
       Assistant U.S. Attorney




                                        2
